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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

 In re:                                            )
                                                   )
 INTERSTATE UNDERGROUND                            ) Case No. 21-40834-DRD
 WAREHOUSE AND INDUSTRIAL                          )
 PARK, INC.,                                       ) Chapter 11
                                                   )
                         Debtor.                   )



                         LOCAL RULE 2015-2A and B STATEMENT

          COMES NOW Debtor herein and makes the following declarations pursuant to Local Rule

 2015-2A and B, and declares the following based upon its personal knowledge and makes this

 declaration in support its Bankruptcy Petition:


           A.     Statement

                1.    No prior petition in bankruptcy has been filed on behalf of Debtor appointing
                      a Trustee or Creditor's Committee.

                2.   There are actions or proceeding pending and judgments against Debtor as
                     follows: See Exhibit A

                  3. No property of the Debtor is in the hands of a public officer, receiver, trustee,
                     assignee for the benefit of creditors, mortgagee, pledgee, or assignee or rents.

                  4. Debtors is not occupying any premises under a lease.

                  5. Debtor uses the following Utility companies: See Exhibit B

           B.     Operating Statements

                  1. Estimated gross revenue for the thirty (30) day period following filing of the
                     Petition is not available at this time and Debtor shall supplement this
                     statement in the future.

                  2. The estimated operating expenses for the thirty (30) day period following the
                     filing of the Petition is not available at this time and Debtor shall supplement
                     this statement in the future.
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                 3. The expected gain or loss for the thirty (30) day period following filing of the
                       Petition is not available at this time and Debtor shall supplement this statement
                       in the future.


        I, Leslie Reeder, CEO for Interstate Underground Warehouse and Industrial Park, Inc., the

Debtor in this proceeding, state under perjury under the laws of the United States that the foregoing

is true and correct.




 Dated:    July 1, 2021
                                        /s/ Leslie Reeder
                                       Leslie Reeder
                                       Chief Executive Officer




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                                        Exhibit A

                                 List of Pending Lawsuits
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                                            Exhibit B

                                    List of Utility Providers



KC Water
4800 E. 63rd Street
Kansas City, MO 64130
816.513.1313

Evergy (electric)
PO Box 219330
Kansas City, MO 64121
816.221.2323

Avid Communications (phone & internet)
PO Box 414800
Kansas City, MO 64141
816.994.7050

Hook N Haul Dumpsters LLC (trash service)
704 Harrington Street
Dearborn, MO 64439
816.800.2993
